Case: 4:22-cv-01110-AGF Doc. #: 120 Filed: 04/11/23 Page: 1 of 2 PageID #: 1075




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

HANS MOKE NIEMANN,                                )
                                                  )
              Plaintiff,                          )
                                                  )
v.                                                )        Case No.: 4:22-cv-01110-AGF
                                                  )
                                                  )
SVEN MAGNUS ØEN CARLSEN A/K/A                     )
MAGNUS CARLSEN, et al.,                           )
                                                  )
              Defendants.                         )


                                ENTRY OF APPEARANCE
       Spencer Tolson, of the law firm of Husch Blackwell LLP, hereby enters his appearance on

behalf of Defendant Play Magnus AS d/b/a Play Magnus Group in the above-captioned case.

                                              Respectfully submitted,

                                              HUSCH BLACKWELL LLP

                                              /s/ Spencer Tolson
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                                              ATTORNEY FOR DEFENDANT
                                              PLAY MAGNUS AS
                                              d/b/a PLAY MAGNUS GROUP




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Case: 4:22-cv-01110-AGF Doc. #: 120 Filed: 04/11/23 Page: 2 of 2 PageID #: 1076




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was sent to all counsel of

record via the Court’s e-Filing System on the 11th day of April, 2023.


                                                    /s/ Spencer Tolson
                                                    Attorney




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